

Matter of Romano v Annucci (2023 NY Slip Op 01613)





Matter of Romano v Annucci


2023 NY Slip Op 01613


Decided on March 24, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 24, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., PERADOTTO, LINDLEY, BANNISTER, AND OGDEN, JJ.


167 CA 22-00549

[*1]IN THE MATTER OF ANTHONY ROMANO, PETITIONER-APPELLANT,
vANTHONY ANNUCCI, ACTING COMMISSIONER, NEW YORK STATE DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION, RESPONDENT-RESPONDENT. 






WYOMING COUNTY-ATTICA LEGAL AID BUREAU, WARSAW (MICHAEL J. MANUSIA OF COUNSEL), FOR PETITIONER-APPELLANT. 
LETITIA JAMES, ATTORNEY GENERAL, ALBANY (SARAH L. ROSENBLUTH OF COUNSEL), FOR RESPONDENT-RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Wyoming County (Michael M. Mohun, A.J.), entered March 30, 2022 in a proceeding pursuant to CPLR article 78. The judgment dismissed the petition. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Memorandum: Petitioner appeals from a judgment dismissing his CPLR article 78 petition seeking to annul the Parole Board's determination denying his request for release to parole supervision. The Attorney General has advised this Court that, subsequent to that denial and during the pendency of this appeal, petitioner reappeared before the Parole Board in January 2023 and was again denied release. Consequently, this appeal must be dismissed as moot (see Matter of Colon v Annucci, 177 AD3d 1393, 1394 [4th Dept 2019]; Matter of Hill v Annucci, 149 AD3d 1540, 1541 [4th Dept 2017]). Contrary to petitioner's contention, this matter does not fall within the exception to the mootness doctrine (see Matter of Porter v Annucci, 148 AD3d 1779, 1779 [4th Dept 2017]; see generally Matter of Hearst Corp. v Clyne, 50 NY2d 707, 714-715 [1980]).
Entered: March 24, 2023
Ann Dillon Flynn
Clerk of the Court








